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 1                                                                Honorable Richard A. Jones
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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
     UNITED STATES OF AMERICA,                  )
 8                                              )      NO. 2:20-cr-00132-RAJ
                   Plaintiff,                   )
 9                                              )      ORDER GRANTING
            vs.                                 )      STIPULATED MOTION TO
10                                              )      CONTINUE TRIAL DATE AND
     JERON HANSON,                              )      PRETRIAL MOTIONS DEADLINE
11
                                                )
12                 Defendant.                   )
                                                )
13
            THE COURT has considered the parties’ stipulated motion to continue the trial
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     date and pretrial motions deadline, and the files and records herein, and finds that:
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            (a) taking into account the exercise of due diligence, a failure to grant a
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     continuance in this case would deny counsel for the defendant the reasonable time
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     necessary for effective preparation, due to counsel’s need for more time to review the
18
     evidence, consider possible defenses, and gather evidence material to the defense, as
19   set forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
20          (b) a failure to grant a continuance in this proceeding would likely result in a
21   miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
22          (c) the additional time requested is a reasonable period of delay, as the
23   defendant has requested more time to prepare for trial, to investigate the matter, to
24   gather evidence material to the defense, and to consider possible defenses; and

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                                                                   MAZZONE LAW FIRM, PLLC
                                                                    3002 Colby Avenue, Suite 302
     ORDER GRANTING STIPULATED MOTION TO CONTINUE
                                                                         Everett, WA 98201
     TRIAL DATE AND PRETRIAL MOTIONS DEADLINE - 1                        Tel (425) 259-4989
                                                                         Fax (425) 259-5994
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 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendant in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of October 26,

 5   2020 and the new trial date is necessary to provide counsel for the defendant the

 6   reasonable time necessary to prepare for trial, considering counsel’s schedule and all
     of the facts set forth above; and
 7
            IT IS THEREFORE ORDERED that the parties’ Stipulated Motion to Continue
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     Trial Date and Pretrial Motions Deadline (Dkt. #24) is GRANTED. The trial date in
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     this matter shall be continued to March 29, 2021, at 9:00 a.m. All pretrial motions,
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     including motions in limine, shall be filed no later than February 18, 2021.
11
            IT IS FURTHER ORDERED that the period of delay from the date of this order
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     to the new trial date of March 29, 2021, is excludable time pursuant to 18 U.S.C. §§
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     3161(h)(7)(A) and (h)(7)(B)(iv).
14

15          DATED this 18th day of September, 2020.
16

17                                                     A
                                                       The Honorable Richard A. Jones
18                                                     United States District Judge
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                                                                   MAZZONE LAW FIRM, PLLC
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